Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 1 of 32 Page ID #:191



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   13
                            IN THE UNITED STATES DISTRICT COURT
   14
                              CENTRAL DISTRICT OF CALIFORNIA
   15

   16     CALIFORNIA DEPARTMENT OF ) Case No. 2:20-cv-11293-SVW-JPR
          TOXIC SUBSTANCES               )
   17
          CONTROL, et al.                ) DEFENDANT NL INDUSTRIES,
   18                                    ) INC.’S NOTICE OF MOTION AND
                             Plaintiffs, ) MOTION TO DISMISS PLAINTIFF’S
   19
                                         ) COMPLAINT; MEMORANDUM OF
   20     v.                             ) POINTS AND AUTHORITIES IN
                                         ) SUPPORT THEREOF
   21
          NL INDUSTRIES, INC., et al.    )
   22                                    ) Date: June 28, 2021
                             Defendants. ) Time: 1:30 p.m.
   23
                                         ) Place: First Street Courthouse
   24                                    )        350 W. 1st Street
                                         )        Los Angeles, CA 90012
   25
                                         )        Courtroom 10A, 10th Floor
   26                                    ) Before: Hon. Stephen V. Wilson
                                         ) Complaint Filed: December 14, 2020
   27
          ____________________________   ) Trial Date: None Set
   28
                                                           i
        NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION       CASE NO. 2:20-CV-11293-SVR-JPR
        TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 2 of 32 Page ID #:192



    1                                          TABLE OF CONTENTS
    2

    3   TABLE OF AUTHORITIES .................................................................................. iii
    4   MEMORANDUM OF POINTS AND AUTHORITIES .......................................... 1
    5   I.      INTRODUCTION ......................................................................................... 1
    6   II.     SUMMARY OF ARGUMENTS ................................................................... 4
    7   III.    FACTUAL BACKGROUND ........................................................................ 5
    8   IV.     DOCUMENTS CONSIDERED ON A MOTION TO DISMISS.................. 8
    9   V.      ARGUMENT ................................................................................................. 8
   10           POINT I – DTSC’S CERCLA CLAIMS (COUNT 1 AND II) ................... 8
   11           AGAINST NL WITH REGARD TO THE OFF-SITE SOILS
                IMPACTED BY ALLEGED AIR EMISSIONS ARE BARRED
   12           BY PAKOOTAS v. TECK COMINCO METALS, LTD.
   13
                 POINT II – DTSC’S FIRST AND SECOND CLAIMS FOR ..................... 13
   14            RELIEF MUST BE DISMISSED BECAUSE CERCLA IS NOT
   15            RETROACTIVE. APPLYING CERCLA RETROACTIVELY
                 TO NL UNDER THESE CIRCUMSTANCES IS
   16            UNCONSITUTIONAL
   17
                 POINT III – DTSC’S THIRD AND FOURTH CLAIMS FOR ................. 18
   18            RELIEF MUST BE DISMISSED BECAUSE THE HSAA IS NOT
   19            RETROACTIVE

   20            POINT IV - ALL OF DTSC’S CLAIMS THAT NL MUST .................... 19
   21
                 ABATE LEAD IN SOILS, INCLUDING DTSC’S FIFTH
                 CLAIM FOR RELIEF (NUISANCE), MUST BE DISMISSED
   22            BECAUSE NL HAS ALREADY PAID TO REMOVE THE
   23
                 LEAD IN SOILS, AND A BINDING COURT ORDER
                 PROHIBITS THE VERY LAWSUIT THAT DTSC HAS
   24            FILED AGAINST NL
   25
        CONCLUSION....................................................................................................... 25
   26

   27

   28
                                                                  ii
        NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION                                    CASE NO. 2:20-CV-11293-SVR-JPR
        TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 3 of 32 Page ID #:193



    1                                            TABLE OF AUTHORITIES
    2

    3   CASES
    4

    5   Anderson Bros., Inc. v. St. Paul Fire & Marine Insurance Co., 729 F.3d 923
          (9th Cir. 2013) .................................................................................................... 13
    6

    7   Atlantic Richfield Co. v. Christian, 590 U.S. ____, 140 S. Ct. 1335, 206
           L. Ed. 2d 516 (2020) ........................................................................................... 13
    8

    9   BMW of N. Am., Inc. v. Gore, 517 U.S. 559 (1996) ................................................ 17

   10   Carson Harbor Vill., Ltd. v. Unocal Corp., 270 F.3d 863 (9th Cir. 2001) ....... 10, 11
   11
        Center for Community Action & Environmental Justice v. BNSF Railway Co.,
   12      764 F.3d 1019 (9th Cir. 2014) ........................................................................... 11
   13
        Chubb Custom Insurance Company v. Space Systems/Loral, No. C 09-4485 JF
   14    (PVT), 2010 WL 689940 (N.D. Cal. Feb. 23, 2010) ........................................... 18
   15
        County of Sierra v. Butler, 136 Cal. 547 (1902) .................................................... 24
   16

   17
        Daniels-Hall v. Nat'l Educ. Ass’n, 629 F.3d 992 (9th Cir. 2010) ............................. 8

   18   E. Enters. v. Apfel, 524 U.S. 498 (1998) ............................................... 14, 15, 16, 17
   19
        In re Marriage of Reuling, 23 Cal. App. 4th 1428 (1994) ...................................... 19
   20

   21
        Landgraf v. USI Film Prods., 511 U.S. 244 (1994) .................................... 13, 14, 16

   22   Lerner v. L.A. City Bd. of Educ., 59 Cal. 2d 382, 29 Cal. Rptr. 657
   23
           (1963) .................................................................................................................. 24

   24   Pakootas v. Teck Cominco Metals, Ltd., 830 F.3d 975 (9th Cir. 2016) ........... passim
   25
        People ex rel. Bryant v. Holladay, 93 Cal. 241, 29 P. 54 (1892) ............................ 23
   26
        People ex rel. Ryan v. San Diego, 71 Cal. App. 421 (App. 1925) .......................... 24
   27

   28
                                                                       iii
        NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION                                           CASE NO. 2:20-CV-11293-SVR-JPR
        TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 4 of 32 Page ID #:194



    1   S. Coast Air Quality Mgmt. Dist. v. Exide Techs. (In re Exide Techs.),
    2      613 B.R. 79 (D. Del. 2020 .................................................................................... 6

    3   Steinle v. City of S.F., 919 F.3d 1154 (9th Cir. 2019) ............................................... 8

    4   United Alloys, Inc. v. Baker, 797 F. Supp. 2d 974 (C.D. Cal. 2011) ...................... 18
    5
        United States ex rel. Modglin v. Djo Global Inc., 114 F. Supp. 3d 993
    6      (C.D. Cal. 2015)................................................................................................... 8
    7
        United States v. DJO Glob., Inc., 678 F. App'x 594 (9th Cir. 2017) ........................ 8
    8

    9   Vartelas v. Holder, 566 U.S. 257 (2012)........................................................... 15, 16

   10   REGULATIONS
   11
        17 CCR § 35036 ........................................................................................................ 2
   12
        40 C.F.R. 745,65(c) ................................................................................................... 2
   13
        STATUTES AND RULES
   14

   15   Fed. R. Civ. P. 12(b)(6) .............................................................................................. 1
   16
        Federal Rule of Evidence 201 .................................................................................. 8
   17
        Resource Conservation and Recovery Act (“RCRA”). 42 U.S.C. § 9601(29);
   18
           42 U.S.C. § 6903(3) ........................................................................................... 10
   19

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                                                                    iv
        NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION                                       CASE NO. 2:20-CV-11293-SVR-JPR
        TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 5 of 32 Page ID #:195



    1                           NOTICE OF MOTION AND MOTION
    2          TO PLAINTIFF AND TO ITS ATTORNEYS OF RECORD:
    3          PLEASE TAKE NOTICE that on June 28, 2021 at 1:30 p.m. in the
    4   courtroom of the Honorable Stephen V. Wilson, located in Courtroom 10A on the
    5   10th Floor of the First Street Courthouse, 350 W. 1st Street, Los Angeles, California
    6   90012, Defendant NL Industries, Inc. (“NL”) will and hereby does move (1) to
    7   dismiss Plaintiff California Department of Toxic Substances Control and the Toxic
    8   Substances Control Account’s (“DTSC” or “California”) Complaint, including the
    9   First through Fifth Claims for Relief pursuant to Rule 12(b)(6) of the Federal Rules
   10   of Civil Procedure and (2) to obtain other relief as is just and equitable. As set forth
   11   in the accompanying Memorandum, Plaintiff’s claims fail to state a valid claim upon
   12   which relief can be granted.
   13          This Motion is based on the Memorandum of Points and Authorities, the
   14   concurrently filed Declaration of John Powers, and the accompanying Request for
   15   Judicial Notice, and on such oral argument and evidence that may be represented at
   16   the hearing.
   17          PLEASE TAKE FURTHER NOTICE that pursuant to L.R. 7-9, an opposition,
   18   if any, shall be served at least twenty-one (21) days before the motion hearing date.
   19          This Motion is made following the conference of counsel pursuant to L.R. 7-
   20   3. On January 28, 2021, counsel for Plaintiff and I, Joel L. Herz, conducted a
   21   conference via telephone pursuant to Local Rule 7-3 to discuss the substance of NL’s
   22   contemplated Motion to Dismiss Complaint.              On April 14, 2021, a second
   23   conference was conducted via telephone. The conferences did not resolve this
   24   motion as Plaintiff’s counsel disagreed with the arguments presented.
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        NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION               CASE NO. 2:20-CV-11293-SVR-JPR
        TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 6 of 32 Page ID #:196



    1   DATED:          April 22, 2021
    2
        LAW OFFICES OF JOEL L. HERZ                            ELKINS KALT WEINTRAUB
    3                                                          RUEBEN GARTSIDE LLP
    4
        /s/ Joel L. Herz                                       /s/ Kenneth A. Ehrlich
    5
        Counsel for NL Industries, Inc.
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        NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION                       CASE NO. 2:20-CV-11293-SVR-JPR
        TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 7 of 32 Page ID #:197



    1                  MEMORANDUM OF POINTS AND AUTHORITIES
    2            Defendant NL Industries, Inc. (“NL”) submits this Memorandum of Law in
    3   Support of its Motion to Dismiss Plaintiff California Department of Toxic
    4   Substances Control and the Toxic Substances Control Account’s (“DTSC” or
    5   “California”) Complaint pursuant to Fed. R. Civ. P. 12(b)(6) for failure to state a
    6   claim.
    7   I.       INTRODUCTION
    8            In a March 11, 2015 Non-Prosecution Agreement with the United States
    9   Attorney’s Office, Exide Technologies (“Exide”) admitted to two decades’ worth of
   10   felonious conduct by illegally storing and allowing hazardous waste to leak at its
   11   lead smelter in Vernon, California (the “Exide Site”), “a significant number of
   12   times over the past two decades”.                      See March 11, 2015 Non-Prosecution
   13   Agreement (emphasis added), a copy of which is attached as Exhibit A to the
   14   Declaration of John Powers (“Powers Declaration”) filed herewith, and is also
   15   available at https://dtsc.ca.gov/wp-content/uploads/sites/31/2018/03/Exide-U-S-
   16   Attorney-s-Office-Non-Prosecution-Agreement.pdf.
   17            Exide befouled the Exide Site for more than 15 years, with the implicit
   18   blessing of DTSC.
   19            After public outcry of DTSC’s gross mismanagement of the Exide Site, DTSC
   20   attempted to force Exide into a “toothbrush style” cleanup. DTSC required Exide to
   21   encase a humongous lead smelter building in an expensive air pressurized tent,
   22   “toothbrush clean” the Exide Site, and then remove buildings 1. Indeed, even DTSC
   23   admits that “[d]econstruction of buildings is above and beyond typical RCRA
   24   closure requirements.” See November 2015 Exide Closure Plan at page 11-1,
   25   attached     to   Powers      Declaration      as       Exhibit   B   and    is    available       at
   26
        1
         The main lead smelter that DTSC was requiring Exide to remove was not even on
   27
        the Exide Site at the time NL sold the property. NL had nothing to do with Exide’s
   28   lead smelter.
                                                           1
        NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION                      CASE NO. 2:20-CV-11293-SVR-JPR
        TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 8 of 32 Page ID #:198



    1   https://dtsc.ca.gov/wp-content/uploads/sites/31/2018/03/CLOSURE-PLAN-
    2   MAIN-TEXT.pdf.
    3          DTSC also demanded that Exide remediate offsite residential yards and
    4   gardens located in multiple cities outside of Vernon that the Exide Site did not
    5   remotely impact. DTSC demanded that Exide clean the offsite residential yards
    6   located in the cities of Bell, Huntington Park, Maywood, Commerce, Los Angeles
    7   and in unincorporated areas of Los Angeles County located up to 1.7 miles away
    8   from the Exide facility to an 80 part per million lead soil standard, when the United
    9   States Environmental Protection Agency (“EPA”) and Center for Disease Control
   10   and Prevention (“CDC”) standard for lead in bare soil is only 400 parts per million
   11   in children’s play areas, and 1,200 parts per million in other areas. See 40 C.F.R.
   12   745.65(c) (stating: “(c) Soil-lead hazard. A soil-lead hazard is bare soil on
   13   residential real property or on the property of a child-occupied facility that contains
   14   total lead equal to or exceeding 400 parts per million (µg/g) in a play area or
   15   average of 1,200 parts per million of bare soil in the rest of the yard based on soil
   16   samples.”)2.
   17          The standard set by EPA, is the same as California’s own “lead contaminated
   18   soil” regulation, which states:
   19          “Lead-contaminated soil” means bare soil that contains an amount of
   20          lead equal to, or in excess of, four hundred parts per million (400 ppm)
   21          in children's play areas and one thousand parts per million (1000
   22          ppm) in all other areas.
   23   See 17 CCR § 35036 (emphasis added).
   24

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        2
          It should not escape this Court that “Natural levels of lead in soil range between
        50 parts per million (ppm) and 400 ppm.” See EPA Article “Lead at Superfund
   26   Sites: Human Health”, a copy of which is attached to the Powers Declaration as
   27   Exhibit C and is available at https://www.epa.gov/superfund/lead-superfund-sites-
        human-health.
   28
                                                           2
        NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION              CASE NO. 2:20-CV-11293-SVR-JPR
        TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 9 of 32 Page ID #:199



    1          Indeed, DTSC’s own September 29, 2015 Report entitled Preliminary
    2   Estimate of the Geographical Boundary of Emissions from the Former Exide
    3   Technologies Facility, concluded that soil lead background in the cleanup area
    4   (described in the report as “th[e] level represent[ing] the amount of lead in soil that
    5   cannot be attributed to a specific source”) is between 165-250 parts per million. See
    6   September 29, 2015 Report titled Preliminary Estimate of the Geographical
    7   Boundary of Emissions from the Former Exide Technologies Facility at p. 6, p. 24,
    8   Table 1, attached to the Powers Declaration as Exhibit D.
    9          Exide should not have been required to remediate soil in multiple cities
   10   outside Vernon to a level that is two to three times lower than background. Neither
   11   should anyone else. No one should have to remediate soil in a Comprehensive
   12   Environmental Response, Compensation, and Liability Act (“CERCLA”) cleanup to
   13   a level lower than EPA’s standards.
   14          Not surprisingly, as a result of DTSC’s overreaching, DTSC forced Exide into
   15   bankruptcy, and Exide is now totally out of business. Exide has now been liquidated
   16   -- and at least $29,070,513.45 has been placed in a trust by Exide to remediate the
   17   Exide Site. Not content with that money, DTSC has sued NL and others to pay for
   18   its own mismanagement of the Exide Site during the more than 40 years after the
   19   property was sold by NL in January of 1979. NL had nothing to do with DTSC’s
   20   gross negligence and mismanagement. NL had nothing to do with the lead smelter
   21   building that is now being demolished under a negative pressure tent. It was built
   22   AFTER NL sold the property.
   23          Importantly, DTSC is suing NL to cleanup offsite residential houses that it
   24   claims were impacted by Exide’s lead smelter – a building that NL never built nor
   25   owned nor operated. Regardless, the lead issue in residential yards revolves almost
   26   exclusively around: a) exterior lead paint that was not properly maintained by
   27   homeowners; b) emissions from leaded gasoline in Los Angeles; and c) other sources
   28
                                                           3
        NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION              CASE NO. 2:20-CV-11293-SVR-JPR
        TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 10 of 32 Page ID #:200



     1   of lead, such as LA smog over many years, having nothing to do with NL. DTSC’s
     2   own data appears to show that poorly-maintained lead paint is a primary source of
     3   lead issues in the residential yards 3. As discussed in more detail below, NL has
     4   already paid to remediate the alleged lead paint and lead dust nuisance in the County
     5   of Los Angeles. The lead nuisance claim against NL is barred by a prior settlement
     6   and court order.
     7          For the reasons set forth below, regardless of Exide’s conduct, and the gross
     8   mismanagement by the DTSC, NL can have no liability under any of the claims that
     9   have been asserted by DTSC.
    10   II.                         SUMMARY OF ARGUMENTS
    11          o       DTSC’s CERCLA claim alleging that NL is responsible for offsite
    12   contamination from air emissions, is barred by the controlling Ninth Circuit decision
    13   in Pakootas v. Teck Cominco Metals, Ltd., 830 F.3d 975 (9th Cir. 2016).
    14          o       CERCLA, if retroactive, cannot be applied retroactively to NL in these
    15   circumstances, as it would result in an unlawful taking and due process violation of
    16   NL’s constitutional rights.
    17          o       DTSC’s claims under the Carpenter-Presly-Tanner Hazardous
    18   Substances Account Act (“HSAA”) cannot apply to NL, because NL had nothing to
    19   do with the Exide Site after January 1, 1982 -- the effective period of the HSAA.
    20
         3
          A true and correct copy of the Exide sampling data for soil lead and paint chips is
    21
         available on DTSC’s public website at the following location:
    22   https://dtsc.ca.gov/wp-content/uploads/sites/31/2020/06/2020-05-31_DTSC-PIA-
         Sampling-Data-Tables.xlsx (last visited March 4, 2021). A full copy of this
    23
         document is on file with NL’s Counsel and is available upon request. DTSC’s
    24   spreadsheet includes 27,381 unique records (each record representing one unique
         paint chip sample) that shows the presence of lead in paint chip samples taken from
    25
         buildings in the residential cleanup area. Attached to the Powers Declaration as
    26   Exhibit E are the first five pages from a 301-page PDF printout of the DTSC’s
         publicly available lead paint chip testing records that has been filtered to show the
    27
         paint chip samples containing lead. A full copy of the 301-page PDF printout is in
    28   counsel’s possession and is available upon request.
                                                            4
         NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION             CASE NO. 2:20-CV-11293-SVR-JPR
         TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 11 of 32 Page ID #:201



     1          o       DTSC’s attempt to sue NL for offsite lead in soils is barred by a prior
     2   Court Order that the State of California agreed to with NL -- in accepting over $350
     3   million from NL and others.
     4   III.   FACTUAL BACKGROUND (As Established by the Complaint and
     5   Properly Considered Facts Drawn from Discrete Documents in the Public
     6   Domain and/or Referenced in the Complaint)
     7          According to DTSC, the Exide Site is located in the City of Vernon, on
     8   approximately 24 acres of land. See June 2006 DTSC Fact Sheet, a copy of which is
     9   attached to the Powers Declaration as Exhibit F and is available at
    10   https://dtsc.ca.gov/wp-content/uploads/sites/31/2018/03/Exide_FS_dPermit.pdf.
    11   The parcel is zoned for heavy Industrial (Zone M-2) and other parcels in the vicinity
    12   are zoned either Manufacturing or Commercial. Id. There is no residential zoning
    13   within a quarter mile radius of the site. Id.
    14          When Vernon was incorporated in 1905, it was “designed exclusively for
    15   businesses.”      See    2020     Vernon       Chamber   of   Commerce        available       at
    16   https://www.vernonchamber.org/about-vernon/.             The motto on the City seal is
    17   “Exclusively Industrial.” Id. It remains today an industrial city. Id.
    18          DTSC alleges that the property was first used for industrial purposes in 1925.
    19   See DTSC Complaint at ¶ 16.
    20          DTSC alleges that NL became the owner of the property in 1974. See id.
    21          DTSC alleges that NL sold the property on January 31, 1979. See id.
    22          While DTSC alleges that NL is responsible for the activities of a prior owner,
    23   Morris Kirk, DTSC also alleges that NL owned the property for less than six years.
    24   See id.
    25          During the early 1980s, the facility was the subject of a major modernization
    26   and reconstruction that resulted in the current site configuration. See Exide Closure
    27   Plan modified by DTSC on December 8, 2016 at page i, a copy of which is attached
    28
                                                            5
         NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION                 CASE NO. 2:20-CV-11293-SVR-JPR
         TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 12 of 32 Page ID #:202



     1   to the Powers Declaration as Exhibit G and is available at https://dtsc.ca.gov/wp-
     2   content/uploads/sites/31/2018/03/Exide_ClosurePlan_Exec-Summary.pdf.
     3          The lead smelter building now existing on the Exide Site, now being cleaned
     4   up under a negative pressure tent, was not even built at the time NL sold the property,
     5   and NL had nothing to do with that lead smelter building. See Exhibit G to Powers
     6   Declaration, Exide Closure Plan at page iii.
     7          In September 2000, Exide acquired the facility. See Exhibit G to Powers
     8   Declaration, Exide Closure Plan at page i.
     9          On February 25, 2002, DTSC and Exide entered into a Corrective Action
    10   Consent Order (CACO) that required Exide to prepare and implement a work plan
    11   for investigation of the entire facility.              See Corrective Action Consent Order
    12   (“CACO”) attached to Powers Declaration as Exhibit H, available at
    13   https://dtsc.ca.gov/wp-
    14   content/uploads/sites/31/2018/03/Exide_ENF_coraction_hwm_031203.pdf.
    15          On April 15, 2002, Exide filed its first bankruptcy under Chapter 11. See
    16   http://www.deb.uscourts.gov/sites/default/files/opinions/judge-kevin-
    17   j.carey/exide.pdf.
    18          In a June 2006 “Fact Sheet” (Exhibit F to Powers Declaration), DTSC stated
    19   that it had “conducted a detailed review of the Exide Technologies Part B Permit
    20   application and has determined that it complies with all applicable regulatory
    21   standards and requirements.”
    22          As discussed by DTSC in the June 2006 “Fact Sheet”, the Exide Site is not
    23   a new source and “all other emissions were determined to be less than
    24   significant”. The “impacts of the facility on all other environmental resources
    25   were also determined to be less than significant.”
    26          On June 10, 2013, Exide filed its second voluntary bankruptcy under
    27   Chapter 11. S. Coast Air Quality Mgmt. Dist. v. Exide Techs. (In re Exide Techs.),
    28
                                                            6
         NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION                     CASE NO. 2:20-CV-11293-SVR-JPR
         TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 13 of 32 Page ID #:203



     1   613 B.R. 79, 82 (D. Del. 2020).
     2          In March 2014, Exide stopped operations. See Exhibit G to Powers
     3   Declaration, Exide Closure Plan at page i.
     4          On March 11, 2015, during the Chapter 11 cases, Exide and the United States
     5   Attorney for the Central District of California entered into a Non-Prosecution
     6   Agreement. See Exhibit A to Powers Declaration.
     7          In the Non-Prosecution Agreement, Exide admitted to having committed
     8   felony environmental violations at the Exide Site over the previous two decades and
     9   agreed to permanently close the Exide Site. Id.
    10          Exide admitted to “knowingly storing corrosive and lead-contaminated
    11   hazardous waste inside leaking van trailers ... parked at the [Exide] Facility.” Id.
    12          Pursuant to the Non-Prosecution Agreement, the parties estimated that the
    13   direct costs of Exide’s compliance (i.e., the closure and remediation efforts) would
    14   be between approximately $108 and $133 million. Id.
    15          On April 7, 2015, Exide provided notice of its intent to permanently close the
    16   facility. See Exhibit G to Powers Declaration, Exide Closure Plan at page i.
    17          On May 19, 2020, Exide filed its third Chapter 11 bankruptcy and DTSC
    18   forced Exide to liquidate its assets. See Docket 1, Petition for Non-Individuals
    19   Filing for Bankruptcy, Case No. 20-1157-CSS, filed May 19, 2020, United States
    20   Bankruptcy Court for the District of Delaware. As a result of the bankruptcy, Exide
    21   placed at least $29,070,513.45 in an environmental trust to remediate the Exide Site.
    22   See DTSC November 25, 2020 Letter to EPA showing that $29,070,513.45 was in
    23   Vernon Environmental Trust on October 23, 2020 attached to the Powers
    24   Declaration as Exhibit I and available at DTSC’s Website at
    25   https://www.envirostor.dtsc.ca.gov/public/hwmp_community_involvement/4630262076/
    26   2020-11-25_DTSC_LTR%20to%20EPA_120DayBudget%20Final%20Complete.pdf
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         NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION              CASE NO. 2:20-CV-11293-SVR-JPR
         TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 14 of 32 Page ID #:204



     1   IV.    DOCUMENTS CONSIDERED ON A MOTION TO DISMISS
     2          It is well-established that the Court, in adjudicating this Motion, may
     3   consider all well-pleaded facts alleged in the Complaint, documents incorporated
     4   within the Complaint by reference, any document on which the Complaint heavily
     5   relies, and facts of which judicial notice may be taken under Federal Rule of
     6   Evidence 201. See e.g. Steinle v. City of S.F., 919 F.3d 1154, 1162-63 (9th Cir.
     7   2019) (“This doctrine permits a court to consider a document ‘if the plaintiff refers
     8   extensively to the document or the document forms the basis of the plaintiff’s
     9   claim.’”)
    10          Courts routinely take judicial notice on Motions to Dismiss of documents on
    11   official government websites. United States ex rel. Modglin v. Djo Global Inc., 114
    12   F. Supp. 3d 993, 1003 n.43 & 1008 (C.D. Cal. 2015) (“The court takes judicial notice
    13   of this fact based on an official document available on the CMS website. . . . Under
    14   Rule 201, the court can take judicial notice of ‘[p]ublic records and government
    15   documents available from reliable sources on the Internet,’ such as websites run by
    16   governmental agencies.”), aff'd sub nom. United States v. DJO Glob., Inc., 678 F.
    17   App'x 594 (9th Cir. 2017); Daniels-Hall v. Nat'l Educ. Ass’n, 629 F.3d 992, 999 (9th
    18   Cir. 2010) (taking judicial notice of information on the websites of two school
    19   districts because they were government entities); see also NL Industries Request for
    20   Judicial Notice filed herewith.
    21                                           ARGUMENT
    22                                               POINT I
    23         DTSC’S CERCLA CLAIMS (COUNT I AND II) AGAINST NL WITH
    24      REGARD TO THE OFF-SITE SOILS IMPACTED BY ALLEGED AIR
    25   EMISSIONS ARE BARRED BY PAKOOTAS V. TECK COMINCO METALS
    26          DTSC claims that NL has liability under CERCLA for alleged air emissions
    27   of lead that came from the Exide Site in Vernon and allegedly settled into residential
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         NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION             CASE NO. 2:20-CV-11293-SVR-JPR
         TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 15 of 32 Page ID #:205



     1   yards in Bell, Huntington Park, Maywood, Commerce and Los Angeles. The Ninth
     2   Circuit in Pakootas v. Teck Cominco Metals, Ltd., 830 F.3d 975 (9th Cir. 2016), held
     3   that air emission of hazardous substances is not a “disposal” under CERCLA.
     4   Disposal is a requirement under CERCLA. See CERCLA § 107(b - d). DTSC’s
     5   claim under CERCLA, that NL be required to pay for the cleanup of offsite yards
     6   and soil, is predicated on air emissions. It must be dismissed.
     7          The Ninth Circuit explained that “disposal”—as opposed to release—of
     8   hazardous substances does not include an “aerial deposition” or “emission”.
     9   Pakootas, 830 F.3d at 983-984.
    10          More specifically, the Ninth Circuit held that the owner of a smelter was not
    11   liable as a person who “arranged for disposal” of hazardous substances when it
    12   emitted those compounds into the air and the substances were deposited onto land
    13   and water downwind. Overturning the district court’s decision, the Court excluded
    14   from the CERCLA definition of “disposal” the emission of hazardous substances
    15   into the air that are then deposited elsewhere. The Ninth Circuit relied heavily on the
    16   reasoning and analysis from two previous Ninth Circuit decisions to determine that
    17   the term “disposal” as construed under CERCLA did not include the passive
    18   depositing of compounds onto land or water through emission into the air. The Ninth
    19   Circuit’s holding follows Ninth Circuit precedent that passive migration does not
    20   constitute disposal under CERCLA.
    21          In Pakootas v. Teck Cominco Metals, Ltd., the Defendant Teck Cominco
    22   Metals, Ltd’s (“Teck”) owned a smelter located ten miles north of the United States
    23   – Canada border in British Columbia. The smelter had operated there for almost 100
    24   years. The Plaintiff in Pakootas, like DTSC here, alleged that hazardous substances
    25   were “discharged into the atmosphere by the [Teck smelter and] travelled through
    26   the air into the United States resulting in the deposition of airborne hazardous
    27   substances” onto the site. Teck moved to strike these claims. The trial court denied
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         NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION              CASE NO. 2:20-CV-11293-SVR-JPR
         TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 16 of 32 Page ID #:206



     1   Teck’s motion and denied a subsequent request for reconsideration reasoning that
     2   “the actionable CERCLA ‘disposal’ in this case occurred when the hazardous
     3   substances emitted by Teck entered the land or water at the site, not when the
     4   substances were initially released into the air.” On interlocutory appeal, the Ninth
     5   Circuit reversed.
     6          As is the case here, the question before the Ninth Circuit was “whether aerial
     7   emissions leading to disposal of hazardous substances ‘into or on any land or water’
     8   are actionable under CERCLA.” The question arose in the context of CERCLA
     9   arranger liability, and whether the defendant “arranged for disposal” within the
    10   meaning of CERCLA § 107(a) when hazardous substances passively travelled
    11   through the air and were then deposited on the land and in water. The Ninth Circuit’s
    12   analysis focuses on CERCLA’s definition of “disposal.” CERCLA does not set forth
    13   its own definition of “disposal.” Rather, it cross-references the definition of
    14   “disposal” found in the Resource Conservation and Recovery Act (“RCRA”). 42
    15   U.S.C. § 9601(29); 42 U.S.C. § 6903(3). RCRA defines “disposal” as “the discharge,
    16   deposit, injunction, dumping, spilling, leaking, or placing of any solid waste or
    17   hazardous waste into or on any land or water so that [such waste] may enter the
    18   environment or be emitted into the air or discharged into any waters[.]” 42 U.S.C. §
    19   6903(3). This RCRA definition and its use of the term “deposit” was a central issue
    20   because Plaintiffs in Pakootas, identical to the DTSC here, wanted the Ninth Circuit
    21   to construe “deposit” to broadly include the passive transport of air emissions. The
    22   Ninth Circuit ultimately rejected this broader interpretation of what it means to
    23   “dispose” by way of “deposit” relying on two earlier Ninth Circuit cases.
    24          In Carson Harbor Vill., Ltd. v. Unocal Corp., 270 F.3d 863 (9th Cir. 2001),
    25   the Ninth Circuit, en banc, interpreted the terms “deposit” and “disposal” as they
    26   applied to former owner/operator liabilities under CERCLA and held that the term
    27   “deposit” “is akin to ‘putting down’ or placement” by someone and that “nothing in
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         NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION             CASE NO. 2:20-CV-11293-SVR-JPR
         TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 17 of 32 Page ID #:207



     1   the context of the statute or the term ‘disposal’ suggests that Congress meant to
     2   include chemical or geologic processes or passive migration.” Carson Harbor, 270
     3   F.3d at 879 & n.7. Where Congress had intended to include passive activity, it
     4   employed specific terminology, such as “leaching.” Accordingly, Carson
     5   Harbor rejected the notion that “deposit” included the gradual or passive spread of
     6   contaminants without human intervention.
     7          The Ninth Circuit also followed Center for Community Action &
     8   Environmental Justice v. BNSF Railway Co., 764 F.3d 1019 (9th Cir. 2014) in
     9   interpreting “disposal” under RCRA, which held that emitting diesel particulate
    10   matter into the air and allowing it to be “transported by wind and air currents onto
    11   the land and water” did not constitute “disposal” of waste within the meaning of the
    12   RCRA. The Ninth Circuit analyzed the statutory text and Congressional intent of
    13   RCRA and determined that waste must first be placed onto the land or water
    14   and thereafter be emitted into the air to constitute disposal. Center for Community
    15   Action & Environmental Justice, 764 F.3d at 1024-25.
    16          Despite claims by the Pakootas Plaintiffs, that the term “disposal” could be
    17   interpreted more broadly, the Ninth Court ultimately concluded that it was bound by
    18   the en banc decision in Carson Harbor, and found no compelling reason to depart
    19   from the persuasive reasoning in Center for Community Action & Environmental
    20   Justice, that a hazardous substance first emitted into the air was not a “disposal”
    21   under RCRA’s definition. Therefore, the Ninth Circuit reversed the lower court and
    22   concluded that Plaintiffs could not maintain a cause of action for arranger liability
    23   based upon Teck’s aerial emissions from its smelter.
    24          Here, DTSC alleges that there were “releases” of lead particulate from the
    25   Vernon Plant that traveled 1.7 miles into a number of different cities and
    26   unincorporated areas outside Vernon. See DTSC Complaint at ¶ 47. DTSC’s
    27   CERCLA claim does not explicitly explain how the lead supposedly traveled off the
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         NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION             CASE NO. 2:20-CV-11293-SVR-JPR
         TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 18 of 32 Page ID #:208



     1   Exide Site for approximately 1.7 miles. However, in its nuisance claim, DTSC
     2   admits that the lead allegedly traveled by air. See DTSC Complaint at ¶¶ 168 and
     3   169. DTSC’s Complaint does not allege how any lead might have traveled up to 1.7
     4   miles -- other than through air emissions. But any mystery as to how DTSC claims
     5   that lead from Exide’s Plant traveled to residential properties in different cities up to
     6   1.7 miles from Exide’s Plant was resolved by DTSC in its July 17, 2017 Removal
     7   Action Plan (Cleanup Plan)(“RAPCP”):
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    14   See RAPCP at page 2-19, figure 6 attached to the Powers Declaration as Exhibit J
    15   and is available on DTSC’s Website at
    16   https://www.envirostor.dtsc.ca.gov/public/community_involvement/1385548233/F
    17   INAL_Removal_Action_Plan-Cleanup_Plan_17Jul2017.pdf. (emphasis added)
    18          As noted above, no residential zoning exists in Vernon or within ¼ mile –
    19   1320 feet of the Exide Plant. See June 2006 DTSC Fact Sheet attached as Exhibit F
    20   to    the    Powers      Declaration,       and         available   at   https://dtsc.ca.gov/wp-
    21   content/uploads/sites/31/2018/03/Exide_FS_dPermit.pdf.                   The      only      plausible
    22   explanation for disposal off the Exide Site that would require offsite residential
    23   remediation up to 1.7 miles away is air transmission. Under the plausibility standard
    24   set forth by the Supreme Court in Iqbal and Twombly, DTSC has not remotely set
    25   forth a plausible basis for its claim that NL is responsible for the remediation of
    26   “10,000 sensitive land use properties (residences, schools, daycare centers, child care
    27   facilities and parks)” in multiple cities that DTSC contends need to be remediated.
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         NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION                         CASE NO. 2:20-CV-11293-SVR-JPR
         TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 19 of 32 Page ID #:209



     1   See DTSC Complaint at ¶¶ 41, 81-93. All claims that NL is responsible for any off-
     2   site contamination should be dismissed.
     3                                              POINT II
     4         DTSC’S FIRST AND SECOND CLAIMS FOR RELIEF MUST BE
     5    DISMISSED BECAUSE CERCLA IS NOT RETROACTIVE. APPLYING
     6   CERCLA RETROACTIVELY TO NL UNDER THESE CIRCUMSTANCES
     7                                   IS UNCONSTITUTIONAL
     8          NL recognizes that numerous Circuit Courts of Appeal and District Courts
     9   have found CERCLA to be retroactive, and that such construction does not violate
    10   the Constitution. NL respectfully submits that these cases were decided either: a)
    11   prior to the Landgraf, Apfel, and Vartelas trilogy discussed below; b) did not
    12   consider applying CERCLA to events between more than 40 and 95 years ago; or c)
    13   are wrongly decided. Neither the Supreme Court nor the Ninth Circuit have directly
    14   decided the issue of CERCLA’s retroactivity. Both Courts have dicta to the effect
    15   that CERCLA is retroactive, but such statements are just that – dicta. Atlantic
    16   Richfield Co. v. Christian, 590 U.S. ____, 140 S. Ct. 1335, 206 L. Ed. 2d
    17   516 (2020); Anderson Bros., Inc. v. St. Paul Fire & Marine Insurance Co., 729 F.3d
    18   923, 926 (9th Cir. 2013). Fully analyzing the issues, the Supreme Court and the
    19   Ninth Circuit would find against retroactive application of CERCLA against NL in
    20   these circumstances in light of the Landgraf, Apfel, and Vartelas trilogy. So too
    21   should this Court.
    22          CERCLA should not be retroactively applied here because it was not enacted,
    23   and did not become effective, until December 11, 1980 – over 11 months after NL
    24   sold the property. The Supreme Court has counseled that statutes cannot be applied
    25   retroactively absent “clear congressional intent favoring such a result.” Landgraf
    26   v. USI Film Prods., 511 U.S. 244, 280 (1994)(emphasis added). There is no such
    27   clear congressional direction in CERCLA.
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         NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION           CASE NO. 2:20-CV-11293-SVR-JPR
         TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 20 of 32 Page ID #:210



     1          More so, even if there was, DTSC is demanding NL pay no less than $136
     2   million in alleged cleanup costs. See Complaint at ¶ 93. Due to the misfeasance of
     3   DTSC, the California State Auditor has concluded that cleanup costs could reach
     4   $650 million. See California State Auditor Report, October 2020, “California
     5   Department of Toxic Substances Control: The State’s Poor Management of the
     6   Exide Cleanup Project Has Left Californians at Continued Risk of Lead Poisoning”
     7   attached    to    the    Powers     Declaration         as   Exhibit   K    and     available       at
     8   https://www.auditor.ca.gov/pdfs/reports/2020-107.pdf.
     9           As applied here, forcing NL to pay $136 million (or more), for conduct which
    10   allegedly occurred before January 31, 1979 and allegedly many years prior, and prior
    11   to the enactment of CERCLA, would result in an unlawful taking and due process
    12   violation under the United States Constitution.
    13          In 1994, in Landgraf, the Supreme Court held that the presumption against
    14   retroactive legislation is “deeply rooted in this Court’s jurisprudence,” and can only
    15   be overcome where Congress expresses a clear intent to do so. Landgraf, 511 U.S.
    16   at 265. The Supreme Court observed that “the legal effect of conduct should
    17   ordinarily be assessed under the law that existed when the conduct took place,”
    18   (id. at 265) to avoid the “unfairness of imposing new burdens on persons after
    19   the fact” (id. at 270) (emphasis added). The Supreme Court added that if a new
    20   statute would “impair rights a party possessed when he acted, increase a party's
    21   liability for past conduct, or impose new duties with respect to transactions
    22   already completed,” then courts should not give retroactive effect to the statute
    23   without “clear congressional intent favoring such a result.” Id. at 280 (emphasis
    24   added). In stating these principles, the Supreme Court held that the Civil Rights Act
    25   of 1991 is not retroactive.
    26          Four years later in 1998, in E. Enters. v. Apfel, 524 U.S. 498 (1998), the
    27   Supreme Court stated that “in accordance with ‘fundamental notions of justice’ that
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         NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION                       CASE NO. 2:20-CV-11293-SVR-JPR
         TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 21 of 32 Page ID #:211



     1   have been recognized throughout history,” “[r]etroactivity is generally disfavored in
     2   the law.” Apfel, 524 U.S. at 532 (plurality) (holding unconstitutional an effort to
     3   “reach[] back 30 to 50 years to impose liability … based on [a] company’s activities
     4   between 1946 and 1965”); see also id. at 549 (Kennedy, J., concurring) (“due process
     5   protection for property must be understood to incorporate our settled tradition
     6   against retroactive laws of great severity”).
     7          The Supreme Court stated that even a legislative effort to allocate economic
     8   responsibility for a societal problem can be “unconstitutional if it imposes severe
     9   retroactive liability on a limited class of parties that could not have anticipated the
    10   liability, and the extent of that liability is substantially disproportionate to the
    11   parties’ experience.” Apfel, 524 U.S. at 528-29 (plurality). In re-stating these
    12   principles, the Supreme Court held that the Coal Act could not be applied
    13   retroactively because it:
    14          substantially interferes with Eastern’s reasonable investment-backed
    15          expectations. It operates retroactively, reaching back 30 to 50 years
    16          to impose liability based on Eastern’s activities between 1946 and
    17          1965. Retroactive legislation is generally disfavored. It presents
    18          problems of unfairness because it can deprive citizens of legitimate
    19          expectations and upset settled transactions. General Motors Corp.
    20          v. Romein, 503 U.S. 181, 191. The distance into the past that the Coal
    21          Act reaches back to impose liability on Eastern and the magnitude of
    22          that liability raise substantial fairness questions.
    23   Apfel, 524 U.S. at 501-02 (plurality) (emphasis added.)
    24          Fourteen years after Apfel, in 2012, in Vartelas v. Holder, 566 U.S. 257
    25   (2012), the Supreme Court further invoked the principle against retroactive
    26   legislation:
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         NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION              CASE NO. 2:20-CV-11293-SVR-JPR
         TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 22 of 32 Page ID #:212



     1          The presumption against retroactive legislation, the Court recalled
     2          in Landgraf, “embodies a legal doctrine centuries older than our
     3          Republic.” … Several provisions of the Constitution, the Court noted,
     4          embrace the doctrine, among them, the Ex Post Facto Clause, the
     5          Contract     Clause, and         the   Fifth     Amendment's Due       Process
     6          Clause.     Numerous decisions of this Court repeat the classic
     7          formulation Justice Story penned for determining when retrospective
     8          application of a law would collide with the doctrine. It would do so,
     9          Story stated, when such application would “tak[e] away or impai[r]
    10          vested rights acquired under existing laws, or creat[e] a new
    11          obligation, impos[e] a new duty, or attac[h] a new disability, in
    12          respect to transactions or considerations already past.”
    13
         Vartelas v. Holder, 566 U.S. at 265-66 (emphasis added; citations omitted).
    14
                The Supreme Court in Vartelas added:
    15
                But “[e]ven when the conduct in question is morally reprehensible or
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                illegal,” the Court added, “a degree of unfairness is inherent whenever
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                the law imposes additional burdens based on conduct that occurred in
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                the past.” And in Hughes Aircraft, the Court found that Congress’
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                1986 removal of a defense to a qui tam action did not apply to pre–1986
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                conduct in light of the presumption against retroactivity. As
    21
                in Landgraf, the relevant conduct (submitting a false claim) had been
    22
                unlawful for decades.
    23
         Vartelas v. Holder, 566 U.S. at 273 (citations omitted).
    24
                The trilogy of Landgraf, Apfel, and Vartelas, make clear that CERCLA cannot
    25
         be applied retroactively in this case against NL.
    26
                Here, NL’s alleged predecessor, Morris Kirk, allegedly opened the property
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         in 1925 in the City of Vernon, which had no residents, and which billed itself as
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         NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION                  CASE NO. 2:20-CV-11293-SVR-JPR
         TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 23 of 32 Page ID #:213



     1   “exclusively industrial”. NL allegedly took over the property in 1974 and had no
     2   inkling that CERCLA would be enacted or that NL would have retroactive liability
     3   for events that occurred almost 100 years ago. NL sold the property in 1979 - before
     4   CERCLA was enacted.
     5          DTSC does not allege any activity by NL at the Exide Site after the enactment
     6   of CERCLA. DTSC is looking to use CERCLA to reach back not just “30 to 50
     7   years,” which the Supreme Court found was too long in Apfel, but nearly a century,
     8   “to impose liability … based on … activities” allegedly starting in 1925. Apfel, 524
     9   U.S. at 532.
    10          Forcing NL to shoulder the enormous burden of remedying a property that it
    11   has had nothing to do with since 1979, at a cost of over $136 million, based on
    12   alleged conduct that pre-dated this litigation by more than 40 years (and up to 95
    13   years ago) and all of which pre-dated CERCLA, is exactly the kind of “severe,
    14   disproportionate, and extremely retroactive burden” that the Constitution prohibits.
    15   Apfel, 524 U.S. at 538; see also id. at 549 (Kennedy, J., concurring). “Elementary
    16   notions of fairness … dictate that a person receive fair notice not only of the conduct
    17   that will subject him to punishment, but also of the severity of the penalty that a State
    18   may impose.” BMW of N. Am., Inc. v. Gore, 517 U.S. 559, 574 (1996). Here, NL
    19   had neither.
    20          The Supreme Court in Apfel, 524 U.S. at 500, stated that Congress may
    21   impose retroactive liability to some degree, particularly where it is “‘confined to
    22   short and limited periods required by the practicalities of producing national
    23   legislation,’”. It did not say that there could be a retroactive lookback of 95 years.
    24   CERCLA cannot be applied retroactively to NL in this case.
    25

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         NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION                CASE NO. 2:20-CV-11293-SVR-JPR
         TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 24 of 32 Page ID #:214



     1                                              POINT III
     2         DTSC’S THIRD AND FOURTH CLAIMS FOR RELIEF MUST BE
     3            DISMISSED BECAUSE THE HSAA IS NOT RETROACTIVE
     4          Counts III and IV of DTSC’s Complaint rely entirely upon the Carpenter-
     5   Presly-Tanner Hazardous Substances Account Act (“HSAA”). Section 25366 of the
     6   HSAA provides that it only applies to acts after January 1, 1982, as follows:
     7          (a) This chapter shall not be construed as imposing any new
     8                liability associated with acts that occurred on or before
     9                January 1, 1982, if the acts were not in violation of existing
    10                state or federal laws at the time they occurred.
    11   (emphasis added).
    12          DTSC alleges that NL sold the property that is the subject of its Complaint
    13   effective January 1, 1979. See DTSC Complaint at ¶ 97. This was three years before
    14   the January 1, 1982 effective date of the HSAA. At no place in the Complaint does
    15   DTSC allege that NL did anything after January 1, 1979. Nor does DTSC allege
    16   that any alleged acts of NL were in violation of existing state or federal law at the
    17   time NL undertook such acts.
    18          The HSAA is not retroactive and exempts all legal acts before January 1,
    19   1982. See e.g., Chubb Custom Insurance Company v. Space Systems/Loral, No. C
    20   09-4485 JF (PVT), 2010 WL 689940, at *8 (N.D. Cal. Feb. 23, 2010) (“Although
    21   Chevron offers several grounds for dismissal of this claim, the first is unopposed by
    22   Chubb and is dispositive: the California Health and Safety Code does not impose
    23   retroactive liability and exempts all acts that occurred before January 1, 1982.”);
    24   United Alloys, Inc. v. Baker, 797 F. Supp. 2d 974, 1005 (C.D. Cal. 2011) (“However,
    25   HSAA does not impose liability for acts that occurred prior to January 1, 1982, if
    26   those acts did not violate existing federal laws at the time they occurred. Cal. Health
    27   & Saf. Code § 25366(a).”)
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         NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION              CASE NO. 2:20-CV-11293-SVR-JPR
         TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 25 of 32 Page ID #:215



     1          Here, DTSC has not alleged any facts as to NL that would trigger a claim
     2   under HSAA. DTSC does not allege that any of NL’s alleged acts were “in violation
     3   of existing state or federal laws at the time they occurred”.
     4          Attempting to apply the HSAA retroactively to NL would also be in violation
     5   of California Code and the California Constitution. Indeed, Section 3 of the
     6   California Civil Code includes a specific codification against retroactivity, as
     7   follows: “No part of this Code is retroactive, unless expressly so declared.”
     8   Moreover, the presumption against retroactivity applies with particular force to laws
     9   creating new obligations, imposing new duties, or exacting new penalties because of
    10   past transactions. In re Marriage of Reuling, 23 Cal. App. 4th 1428, 1439 (1994).
    11          DTSC’s Third and Fourth Claims for Relief must be dismissed with prejudice.
    12                                              POINT IV
    13      ALL OF DTSC’S CLAIMS THAT NL MUST ABATE LEAD IN SOILS,
    14    INCLUDING DTSC’S FIFTH CLAIM FOR RELIEF (NUISANCE), MUST
    15    BE DISMISSED BECAUSE NL HAS ALREADY PAID TO REMOVE THE
    16     LEAD IN SOILS, AND A BINDING COURT ORDER PROHIBITS THE
    17              VERY LAWSUIT THAT DTSC HAS FILED AGAINST NL
    18          In its Complaint, DTSC alleges that NL must pay for the cleanup of lead in
    19   residential soils and lead dust from the Exide Site. In particular, DTSC’s Count V
    20   alleges that NL is required to abate a public nuisance allegedly caused by air
    21   emissions of lead from the Exide Site that are now allegedly in the soil within the
    22   County of Los Angeles. See Complaint at ¶¶ 162 – 179. NL has already paid for
    23   that cleanup, and has received a Court Order barring any successive nuisance lawsuit
    24   for that lead in soils.
    25          More specifically, in 2000, NL was sued by the State of California in The
    26   People of the State of California, Plaintiff, v. Atlantic Richfield Company, et al.,
    27   Defendants, Case No. 1-00-CV-788657, Superior Court of the State of California,
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         NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION                CASE NO. 2:20-CV-11293-SVR-JPR
         TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 26 of 32 Page ID #:216



     1   in and for the County of Santa Clara, to abate a public nuisance for lead in soils
     2   throughout the State of California, including Los Angeles County, where the Exide
     3   Site is located. After years of litigation, the State of California settled on a Fourth
     4   Amended Complaint filed March 16, 2011 which alleged as follows:
     5          3. In response to this public health crisis, County Counsel and City
     6          Attorneys from throughout the State of California ("the Prosecuting
     7          Entities") have brought this action on behalf of the People of the
     8          State of California to remedy the devastation caused by Lead
     9          poisoning, a clear and present danger to the health and well-being
    10          of people throughout the State of California, particularly millions of
    11          children. This Fourth Amended Complaint sets forth a public
    12          nuisance claim seeking an order requiring abatement of all
    13          Lead from private and public homes, buildings, and property in
    14          the Prosecuting Entities' jurisdictions. The Prosecuting Entities
    15          bring this claim to protect the public health as statutorily appointed
    16          representatives of the People of the State of California pursuant to
    17          California Code of Civil Procedure section 731.
    18   See Fourth Amended Complaint in The People of the State of California, Plaintiff,
    19   v. Atlantic Richfield Company, et al., Defendants, Case No. 1-00-CV-788657,
    20   Superior Court of the State of California, in and for the County of Santa Clara,
    21   attached to the Powers Declaration as Exhibit L.
    22          After almost 20 years of litigation, in a July 2019 Joint Motion for Dismissal
    23   With Prejudice, the State of California agreed that NL would not be sued again for
    24   lead dust and stipulated as follows:
    25          For purposes of clarity, the parties stipulate that this judgment of
    26          dismissal resolves Defendants' past, present, and future liability
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         NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION              CASE NO. 2:20-CV-11293-SVR-JPR
         TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 27 of 32 Page ID #:217



     1          for public nuisance arising from lead paint, lead pigment, or lead
     2          dust in the Prosecuting Jurisdictions.
     3   See July 2019 Joint Motion for Dismissal With Prejudice and Order and Judgment,
     4   attached to the Powers Declaration as Exhibit M (emphasis added). California
     5   defines lead dust to include “dust that contains an amount of lead equal to, or in
     6   excess of: (a) forty micrograms per square foot (40mg/ft2) for interior floor surfaces;
     7   or (b) two hundred and fifty micrograms per square foot (250mg/ft2) for interior
     8   horizontal surfaces; or (c) four hundred micrograms per square foot (400mg/ft2) for
     9   exterior floor and exterior horizontal surfaces.” Cal. Code Regs., tit. 17, § 35035.
    10          Indeed, in the Order dismissing the case, Judge Thomas E. Kuhnle, ordered:
    11          5. This dismissal constitutes a final judgment on the merits and bars
    12          subsequent litigation of all issues which were or could have been
    13          raised, including but not limited to any successive action for
    14          public nuisance, as set forth in the Agreement and Full and
    15          Complete Release.
    16   See July 2019 Joint Motion for Dismissal With Prejudice and Order and Judgment,
    17   attached to the Powers Declaration as Exhibit M (emphasis added).
    18          In the Order dismissing the case, Judge Thomas E. Kuhnle, found that each
    19   Prosecuting Jurisdiction was duly authorized to bring the action, the People of the
    20   State of California were effectively represented, and each Prosecuting Jurisdiction
    21   approved the settlement, as follows:
    22           1.     The Court finds that each County Counsel or City Attorney of
    23           each Prosecuting Jurisdiction was duly authorized under Section 731
    24           of the Code of Civil Procedure to bring this public nuisance action on
    25           behalf of the People of the State of California, each County Counsel
    26           and City Attorney adequately and effectively represented the People,
    27           the Prosecuting Jurisdictions and the public in litigating this action
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         NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION              CASE NO. 2:20-CV-11293-SVR-JPR
         TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 28 of 32 Page ID #:218



     1           zealously, and each Prosecuting Jurisdiction has approved the
     2           Agreement and Full and Complete Release, attached as Exhibit A, in
     3           accordance with its required procedures.
     4   See July 2019 Joint Motion for Dismissal With Prejudice and Order and Judgment,
     5   attached to the Powers Declaration as Exhibit M. Section 731 of the California Code
     6   of Civil Procedure is the statute that allows for nuisance claims to be brought under
     7   California Code Section 3479. This is the very same section that DTSC is now again
     8   suing NL under.
     9          The very complaints that DTSC is now making not only could have been
    10   raised in the prior litigation -- they were raised. In the prior case, the County of Los
    11   Angeles, on behalf of the People of the State of California, demanded that NL
    12   cleanup lead from “property in the Prosecuting Entities' jurisdictions.” See
    13   Fourth Amended Complaint in The People of the State of California, Plaintiff, v.
    14   Atlantic Richfield Company, et al., Defendants, Case No. 1-00-CV-788657, Superior
    15   Court of the State of California, in and for the County of Santa Clara, attached to the
    16   Powers Declaration as Exhibit L. The property that DTSC, a department of the State
    17   of California, is seeking NL clean up again is all located within the County of Los
    18   Angeles – one of the “prosecuting entities”.
    19          The DTSC’s Complaint, including Count 5, does exactly what the State of
    20   California agreed not to do -- when it accepted over $305 million from NL and others
    21   and agreed not to file successive lawsuits seeking to have NL abate lead in residential
    22   soils. The Order dismissing that case barred any successive public nuisance claims.
    23   DTSC is now claiming that the very same yards need to be cleaned up with yet more
    24   money from NL. NL should not be required to pay to abate the same alleged
    25   nuisance twice. The claims are barred by the Court’s Order.
    26          DTSC can be expected to argue that it is not bound by the agreement of the
    27   People of the State of California, and the County of Los Angeles within which the
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         NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION               CASE NO. 2:20-CV-11293-SVR-JPR
         TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 29 of 32 Page ID #:219



     1   Exide Site is located. DTSC would be incorrect.
     2          California courts have long maintained the State is bound by settlements
     3   entered into by its political subdivisions.
     4          For example, in People ex rel. Bryant v. Holladay, 93 Cal. 241 (1892), the
     5   California Supreme Court held that when a county had the authority to sue to enforce
     6   public rights, the State of California would be subsequently bound by the results of
     7   that litigation, as follows:
     8          We entertain no doubt that the city and county of San Francisco has
     9          the authority to maintain an action for the purpose of preserving the
    10          rights of the general public to the use of squares, or land claimed as
    11          such, within its limits, and that in such action it is authorized to put in
    12          issue the alleged rights of the people to such easement, and that the
    13          state itself is bound by the result of such litigation, if the same is not
    14          collusive.
    15   People ex rel. Bryant v. Holladay, 93 Cal. at 249 (emphasis added).
    16          The California Supreme Court added that “the public would be bound by the
    17   final judgment therein if the action was conducted in good faith on the part of the
    18   city” and stated:
    19          The rule that the citizen shall not be twice vexed for the same cause
    20          of action is as binding upon the state as upon other litigants; and the
    21          legislature, in conferring upon the city power to maintain and defend in
    22          the courts the rights of the state to streets and squares within its limits,
    23          must be presumed to have done so with reference to this well known
    24          maxim, and to have intended that the state should be bound by the result
    25          of such litigation.
    26   People ex rel. Bryant v. Holladay, 93 Cal. at 249 – 250 (emphasis added).
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         TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 30 of 32 Page ID #:220



     1          Following Holladay, the California Supreme Court in County of Sierra v.
     2   Butler, 136 Cal. 547, 551 (1902) confirmed the very principle that one department
     3   of a state is bound by the litigation or settlement of another department, as follows:
     4          “If it should be said that the action should have been by the authority of
     5          the state, through the             attorney-general, the   answer       is, as
     6          in People v. Holladay, that in the action by the county the rights of
     7          the people are put in issue, and the state would be bound by the
     8          result of the litigation, if not collusive.”) (emphasis added)
     9   County of Sierra v. Butler, 136 Cal. at 551 (1902) (emphasis added).
    10          The same must hold true here. NL was sued in the name of the People of the
    11   State of California by counties and cities in California, including the County of Los
    12   Angeles, to abate lead in soils and lead dust within the County of Los Angeles. A
    13   different branch of the State of California is seeking to have NL abate lead in soils
    14   and lead dust within the County of Los Angeles yet again. The State is bound by the
    15   first order barring all successive lawsuits to abate lead and cleanup lead dust. See
    16   also People ex rel. Ryan v. San Diego, 71 Cal. App. 421, 432-33 (1925) (“In each of
    17   these cases the state had conferred upon the municipality, or officer, jurisdiction over
    18   the subject matter of the controversy, and for that reason our courts have held that in
    19   any litigation involving such subject matter, the municipality, or officer, represented
    20   the state, and that the latter is bound by any judgment rendered against its
    21   representative.”); Lerner v. L.A. City Bd. of Educ., 59 Cal. 2d 382, 398 (1963)
    22   (“[T]he agents of the same government are in privity with each other, since they
    23   represent not their own rights but the right of the government.”).
    24          The claims made in DTSC’s Complaint, including those made in the Fifth
    25   Claim for Relief, are barred by prior Court order. They cannot survive.
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         NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION                  CASE NO. 2:20-CV-11293-SVR-JPR
         TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 31 of 32 Page ID #:221



     1                                          CONCLUSION
     2          For the reasons set forth herein, NL requests this Court dismiss DTSC’s
     3   Complaint with prejudice. To the extent that any answer to the Complaint is required
     4   by NL, NL denies all claims via a general denial.
     5   Date: April 22, 2021                          Respectfully submitted,
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     7                                                 /s/ Joel L. Herz
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    12
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    16                                                 (310) 746-4499 (facsimile)
                                                       KEhrlich@elkinskalt.com
    17                                                 Counsel for NL Industries, Inc.
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         NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION                  CASE NO. 2:20-CV-11293-SVR-JPR
         TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:20-cv-11293-SVW-JPR Document 49 Filed 04/22/21 Page 32 of 32 Page ID #:222



     1                                 CERTIFICATE OF SERVICE
     2          I certify that on April 22, 2021, I electronically transmitted the foregoing
     3   document to the Clerk’s Office using the CM/ECF system, which will be sent
     4   electronically to all registered participants as identified on the Notice of Electronic
     5   Filing.
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     7                                                 By: /s/ Joel L. Herz
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         NL INDUSTRIES, INC’S NOTICE OF MOTION AND MOTION                     CASE NO. 2:20-CV-11293-SVR-JPR
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